  Case 1:21-cv-00184-MW-GRJ Document 30-6 Filed 12/03/21 Page 1 of 6




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF FLORIDA
                                     GAINESVILLE DIVISION
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
SHARON WRIGHT AUSTIN, MICHAEL                                        :
MCDONALD, AND DANIEL A. SMITH,                                       :
JEFFREY GOLDHAGEN, TERESA J. REID,                                   :
and KENNETH B. NUNN,                                                 : 1:21-cv-00184-MW-GRJ
                                                                     :
                               Plaintiffs,                           :
                                                                     :
         v.                                                          :
                                                                     :
UNIVERSITY OF FLORIDA BOARD OF                                       :
TRUSTEES, the public body corporate acting for :
and behalf of the University of Florida, W. KENT :
FUCHS, in his official capacity as President of the :
University of Florida, JOSEPH GLOVER, in his :
official capacity as Provost of the University of :
Florida, and LAURA ROSENBURY, in her                                 :
official capacity as Dean of the Fredric G. Levin :
College of Law,                                                      :
                                                                     :
                               Defendants.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X


                 DECLARATION OF DANIEL A. SMITH

I, Daniel A. Smith, hereby declare and state as follows:

       1.     I am a Professor of Political Science and the Chair of the

Political Science Department at the University of Florida (the “University”).

I have been a member of the University’s faculty since 2003.                 I have

personal knowledge of the matters set forth herein.
    Case 1:21-cv-00184-MW-GRJ Document 30-6 Filed 12/03/21 Page 2 of 6




        2.      My research and scholarship examines the effects of ballot

measures, campaign financing, redistricting, and electoral laws on voting

and political participation in the United States. I have served as an expert

witness in a number of lawsuits concerning voting rights, ballot measures,

campaign finance laws, and redistricting, and a number of cases in which I

have testified have named the State of Florida as a defendant.1 I have also

testified before Congress and the state legislatures of Colorado and Florida

on elections issues.

        3.      In all of my previous engagements as an expert witness, I

testified in my personal capacity, not as a representative of the University,

and I was compensated for my time and expenses. My understanding is that

this is typical for expert witnesses, including those employed by public

universities.

        4.      The University has never objected to my prior work as an

expert witness. To the contrary, in my annual performance reviews, the

University has praised my research and advocacy on voting rights, calling it

both impactful and important for our colleagues, students, and the citizens of


1
  The cases in which I have served as an expert witness include: Gruver, et al. v. Barton,
et al., No. 1:19-cv-00121-MW-GRJ (N.D. Fla. 2019); Rivera v. Detzner, No. 1:18-cv-
00152-MW-GRJ (N.D. Fla. 2018); League of Women Voters of Florida, Inc. v. Detzner,
No. 4:18-cv-00251-MW-CAS (N.D. Fla. 2018); Florida Democratic Party v. Scott, No.
4:16-cv-00626-MW-CAS (N.D. Fla. 2016); Arcia v. Detzner, 1:12-cv-22282-WJZ (S.D.
Fla. 2012); and Romo v. Scott, No. 2012-CA-000412 (Fla. Cir. Ct. 2012).


                                            2
    Case 1:21-cv-00184-MW-GRJ Document 30-6 Filed 12/03/21 Page 3 of 6




Florida. It has also commended my scholarly writings and my role as an

advocate on voting issues, calling my work “important both as a scholar and

as a contribution to the people of Florida.” Ex. 24.2

        5.    Given the University’s past support for my advocacy on voting

issues, I did not hesitate to say yes when I was contacted by attorneys

representing voting right advocates who had sued to enjoin SB 90. I was

one of at least three University of Florida professors asked to act as an

expert witness in that litigation.

        6.    I was asked to testify on a number of topics, including the

history of voting discrimination against minority groups, the use of mail

balloting and in-person early voting in Florida, and the impact of vote-by-

mail measures on minority groups. The attorneys asked that I draft an expert

report, submit to a deposition, and ultimately testify at trial.

        7.    In accordance with the University’s Conflicts of Interest and

Conflicts of Commitment Policy (the “Policy”), I submitted a request

through UFOLIO disclosing my engagement as an expert witness in

connection with the SB 90 litigation. Ex. 9.

        8.    On July 7, 2021 and again on October 11, 2021, I received

notices through UFOLIO that my application had been disapproved. Exs.

2
 “Ex. X” refers to the exhibits attached to the Declaration of Morgan A. Davis, submitted
herewith.


                                           3
 Case 1:21-cv-00184-MW-GRJ Document 30-6 Filed 12/03/21 Page 4 of 6




10, 13.      The only explanation for my disapproval was that “[o]utside

activities that may pose a conflict of interest to the executive branch of the

State of Florida create a conflict for the University of Florida.” Ex. 10.

When I asked Dean Richardson of the College of Arts and Sciences for

clarification, he told me that he had “consulted with the General Counsel and

the VP, Office of Government and Community Relations” and that my

application “remains disapproved for the reason cited.” Ex. 36.

      9.      Following my denial, my counsel sent numerous letters to the

University, urging the University to reverse the disapproval and noting that

the Policy violated both my and my colleagues’ constitutional rights.

      10.     The University refused to budge, issuing a statement on

October 30, 2021, which said that our testimony would be adverse to the

University’s interests since it is a public institution.     Ex. 16.     In a

communication via email on November 1, Ryan Fuller, the University’s

Deputy General Counsel, emphasized that a portion of the conflict stems

from the fact that we would be compensated for our work as expert

witnesses.     Ex. 18.   In addition, President Fuchs publicly stated on

November 1 that we could participate in the litigation in our personal

capacities but only if our work was pro bono. Ex. 17.




                                      4
  Case 1:21-cv-00184-MW-GRJ Document 30-6 Filed 12/03/21 Page 5 of 6




      11.    The University’s statements implied that my colleagues and I

were interested only in making a profit. Nothing could be further from the

truth. I believe strongly that it is part of my duties to the people of the State

of Florida to contribute my knowledge and expertise to matters of public

importance, and I know of few matters more important to our democracy

than voting rights.

      12.    After the University’s Policy became public and was widely

criticized, the University reversed its denial of my request to participate as

expert witnesses in the SB 90 litigation on November 5, 2021. Exs. 22, 23.

      13.    While I am able to testify as an expert in this particular case, I

feel no sense of comfort about my prospects of serving as an expert witness

in the future.   The University has made clear through the way it has

interpreted and applied its Policy that it would seek to silence voices who

disagree with the policies of the governing party in the State of Florida. And

the amendments issued by the task force fail to place any true guard rails in

place to prevent the University from, once again, silencing voices it

disagrees with. Moreover, the amendments fail to provide any guidance on

the timeframe for the review and approval process, nor do they provide any

avenue for an expedited review. This is a significant issue when it comes to

high-stakes, fast-moving cases, such as the elections-related cases for which



                                       5
 Case 1:21-cv-00184-MW-GRJ Document 30-6 Filed 12/03/21 Page 6 of 6




I am often asked to serve as an expert witness. This leaves the University

fully able to continue its discriminatory viewpoint-based denials under the

guise of a “remedied” Policy.

      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that

the foregoing is true and accurate.

      Executed on December 2, 2021.



                                      __________________

                                      Daniel A. Smith




                                      6
